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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0076V
                                          UNPUBLISHED


    MARK CHASE, statutory beneficiary of                        Chief Special Master Corcoran
    BARBARA PAULEY-CHASE,
    deceased,                                                   Filed: October 18, 2021

                         Petitioner,                            Special Processing Unit (SPU);
    v.                                                          Damages Decision Based on Proffer;
                                                                Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                     Pneumococcal Conjugate Vaccine;
    HUMAN SERVICES,                                             Guillain-Barre Syndrome (GBS);
                                                                Death
                         Respondent.


Stephen I. Leshner, Stephen I. Leshner, P.C., Phoenix, AZ, for Petitioner.

Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On January 23, 2020, Mark Chase, statutory beneficiary of Barbara Pauley-Chase,
deceased, filed a petition for compensation under the National Vaccine Injury
Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine Act”). Petitioner
alleges that his wife, Ms. Pauley-Chase, suffered from Guillain-Barre syndrome (“GBS”)
as a result of pneumococcal conjugate and influenza vaccines received on October 17,
2018, and that she subsequently died on December 22, 2018 as a result of her vaccine-
related condition. Petition at 1. The case was assigned to the Special Processing Unit of
the Office of Special Masters.



1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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        On June 15, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for GBS and subsequent death. On October 15, 2021, Respondent filed a
proffer on award of compensation (“Proffer”) indicating Petitioner should be awarded
$250,000.00. Proffer at 2. In the Proffer, Respondent represented that Petitioner agrees
with the proffered award. Id. Based on the record as a whole, I find that Petitioner is
entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $250,000.00 in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under Section
15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS

 MARK CHASE, Statutory Beneficiary of
 Barbara Pauley-Chase, deceased,

                       Petitioner,                    No. 20-76V
                                                      Chief Special Master Corcoran (SPU)
       v.                                             ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                       Respondent.


                      PROFFER ON AWARD OF COMPENSATION 1

I.     Procedural History

       On January 23, 2020, Mark Chase (“petitioner”) filed a petition for compensation

(“Petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to

-34 (“Vaccine Act” or “Act”), as amended, as the statutory beneficiary of Barbara Pauley-Chase.

Petitioner alleges that Barbara Pauley-Chase (“BPC”) suffered from Guillain-Barré syndrome

(“GBS”) as a result of an influenza (“flu”) vaccine and/or Prevnar13 vaccine administered on

October 17, 2018, and that BPC died as a result of her GBS. Petition at 1. On June 14, 2021,

respondent filed his Vaccine Rule 4(c) report, concluding that BPC suffered GBS as defined by

the Vaccine Injury Table, within the Table timeframe. ECF No. 42. On June 15, 2021, a ruling

on entitlement was issued, finding that petitioner was entitled to compensation for a GBS Table

injury. ECF No. 43




       1
         This Proffer does not include attorneys’ fees and costs, which the parties intend to
address after the Damages Decision is issued.
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II.    Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

a lump sum of $250,000.00. This amount represents all elements of compensation to which

petitioner is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

III.   Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment, as described below, and requests that the Chief Special Master’s

decision and the Court’s judgment award the following: A lump sum payment of $250,000.00 in

the form of a check payable to petitioner. Petitioner agrees.

                                                     Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Acting Assistant Attorney General

                                                     C. SALVATORE D’ALESSIO
                                                     Acting Director
                                                     Torts Branch, Civil Division

                                                     HEATHER L. PEARLMAN
                                                     Deputy Director
                                                     Torts Branch, Civil Division

                                                     TRACI R. PATTON
                                                     Assistant Director
                                                     Torts Branch, Civil Division

                                                     s/ Adriana Teitel
                                                     ADRIANA TEITEL
                                                     Trial Attorney
                                                     Torts Branch, Civil Division
                                                     U.S. Department of Justice
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Dated: October 15, 2021                              Email: adriana.teitel@usdoj.gov
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